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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
KRISTIN A. CARMODY, M.D., M.H.P.E,                             :
                                                               :
                           Plaintiff,                          :
                                                               :
                  -against-                                    :
                                                               :
                                                               :   21-CV-08186 (LGS-VF)
NEW YORK UNIVERSITY; NYU GROSSMAN :
SCHOOL OF MEDICINE; NYU LANGONE                                :
HOSPITALS; ROBERT I. GROSSMAN, M.D.;                           :
FRITZ FRANCOIS, M.D.; STEVEN B.                                :
ABRAMSON, M.D.; ANDREW BROTMAN,                                :
M.D.; and ROBERT J. FEMIA, M.D.,                               :
                                                               :
                            Defendants.                        :
---------------------------------------------------------------x



                   DEFENDANTS’ MEMORANDUM OF LAW IN
           OPPOSITION TO PLAINTIFF’S MOTION FOR ATTORNEYS’ FEES




                                               February 10, 2023



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                            I.         PRELIMINARY STATEMENT

       Defendants respectfully submit this memorandum of law in opposition to plaintiff Dr.

Kristin Carmody’s motion for reasonable attorneys’ fees under Fed. R. Civ. 37(a) and (b).

       The Court should deny the motion for fees under Rule 37(b) because that rule applies only

to violations of a court order, and Defendants have not violated any order of this Court.

       The Court should deny the motion for fees under Rule 37(a)(5) because Defendants were

substantially justified in conducting a manual search for text messages during discovery – of which

Carmody’s attorneys were aware as early as July 6, 2022. During discovery, Carmody’s attorneys

never discussed any request to image cell phones and Defendants never agreed to image cell

phones, and yet she never filed a motion to compel forensic imaging during discovery. While

Defendants did not locate all responsive text messages during discovery, they never refused to

produce text messages and never obfuscated or obstructed discovery of text messages. In addition,

under these circumstances, an award of fees to Carmody would be unjust.

       For these reasons and those below, the Court should deny Carmody’s motion for fees.

                                 II.     BACKGROUND FACTS

       Carmody’s motion for fees is premised on the inaccurate contention or speculation that

Defendants did not review text messages for production, that there were no “reasonable steps to

preserve text messages” of defendant Dr. Robert Femia or non-parties Dr. Catherine Jamin or Dr.

Christopher Caspers, and that Defendants “misrepresented to Plaintiff’s counsel what measures

they did take.” (Pl.’s Mem. at 1-2.) The facts, however, show that nothing is further from the truth

– facts that Carmody’s attorneys have continued to ignore or misstate.

       Carmody’s motion suggests, without any legal support, that a defendant has an obligation

to image a cell phone for text messages during discovery; but, as demonstrated below, no such
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obligation exists under the Federal Rules of Civil Procedure or case law. Most significantly, at no

time in discussing electronic-related discovery and search terms at the outset of, or at any point

during, the discovery period did the parties’ attorneys ever discuss, let alone agree upon, forensic

imaging of cell phones for text messages. The fact that Carmody voluntarily imaged her text

messages did not obligate Defendants to do so.

       At any given time, NYU Langone has between 40 and 60 active employment law cases,

but it has never voluntarily imaged an employee’s cell phone during discovery in any litigation

over at least the past 14+ years. Similarly, in defense counsel’s practice over the past 31+ years,

we have never had an employer-client voluntarily image an employee’s cell phone for text

messages during discovery; instead, we have imaged a client’s cell phone only once during

litigation, and that was only after an order from an arbitrator (a former U.S. District Judge) to do

so.

       As Defendants made clear in their August 16, 2022 letter to the Court, (Dkt. No. 60),

“[g]iven that the individual defendants used text messaging sparingly, … it was more than

appropriate to conduct a good-faith, manual search of their text messages on their personal phones,

which counsel reviewed and produced.” (Id. at 2.) Defendants also believe that this process was

consistent with the Court’s Individual Rules, as Defendants handled the search for text messages

in a manner that was “reasonably accessible without undue burden or cost” – particularly given

that NYU had paid for well over 260 hours of attorneys’ time for e-discovery during the discovery

period and over $63,000 to an e-discovery vendor during that time. But, to be clear, Defendants

never refused to produce text messages; rather, they produced all text messages that were located

at the times in question. Clearly, as explained below and previously to the Court, it is unfortunate




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that Defendants’ review did not capture all existing, responsive text messages before discovery

ended.

         During discovery, Carmody’s attorneys were well aware that Defendants produced

screenshots of text messages, (see Pl. Ex. C at p.4 (July 6, 2022 email), and that NYU did not

utilize an outside vendor to image iPhones for texts, (see Pl. Ex. C at p.1 (July 27, 2022 email,

Carmody’s counsel stating that Drs. Jamin and Femia “did not hand over their phones to any

vendor (NYU or otherwise) for relevant data collection”).) Despite this knowledge by Carmody’s

attorneys and lack of any agreement between the parties to image cell phones, at no point during

discovery did Carmody seek to get Defendants’ agreement to image cell phones, inform

Defendants that she would seek the Court’s intervention on this issue, or decide to file a motion to

compel vendor imaging of cell phones. (See Dkt. No. 60 at p.1-2.)

         Instead, Carmody’s attorneys jumped to the unsupportable conclusion that Defendants

failed to preserve texts and that they impermissibly deleted text messages (her attorneys have

surmised, with no foundation whatsoever, that it was “spoliation”), and thus filed a motion for an

adverse inference that was factually and legally unsupportable. Carmody’s statements ignore that

NYU’s in-house attorney issued four litigation hold-preservation notices between April 2021

(upon receiving a letter from Carmody’s first lawyer) and October 2021 (upon learning of the

lawsuit). (Dkt. No. 60 at p.3.) Moreover, there is absolutely no evidence that any Individual

Defendant or non-party custodian intentionally deleted any text message to deprive Carmody of

this discovery, and we are unaware of any such evidence or conduct. Defendants Dr. Robert

Grossman and Dr. Fritz Francois did not delete text messages, (Dkt. No. 100 at p.2), Femia deleted

his text messages as part of a usual deletion practice long before Carmody’s first attorney notified

NYU of her claims in April 2021, (id.), and Jamin and Caspers’ iPhone settings were set to



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automatic deletion, with Caspers’ iPhone set for a 30-day deletion and Jamin’s at 1-year (she was

not even aware of this setting). By the time the parties’ attorneys discussed custodians for e-mails

in the winter of 2022, any of Jamin’s texts concerning Carmody had been deleted automatically

without her or NYU’s knowledge. (Dkt. No. 60 at p.1 (quoting Jamin’s testimony that she did not

delete texts).) Defendants’ e-discovery vendor imaged Femia, Jamin and Caspers’ iPhones, but

there were no responsive text messages on their iPhones or clouds. (See Pl. Ex. A.) Carmody

speculates that Jamin and Caspers had relevant text messages, even though neither was involved

with, nor gave Femia input about, Femia’s decision to end Carmody’s employment. Defendants

produced texts that Jamin had with Francois. Carmody does not complain in her motion for fees

about any texts from or with defendants Dr. Steven Abramson or Dr. Andrew Brotman (neither of

whom were aware of the end of Carmody’s employment until after the fact), and that is because

all of their responsive text messages were produced.

       As Defendants’ November 11, 2022 letter to the Court (the “November 2022 Letter” at

Dkt. No. 100) acknowledges, the Defendants’ review and collection of text messages failed to

locate all relevant or responsive messages during discovery. Defendants acknowledged that it was

unfortunate that additional text messages from Grossman and Francois’ iPhones were produced

after the close of discovery, and they were sorry to be in that position, but the messages were

produced promptly after counsel learned of them, as Fed. R. Civ. P. 26(e) requires. (Id.) Again, no

text message was deliberately withheld from production. As stated in the November 2022 Letter:

“‘[w]e previously understood in connection with defendants’ discovery responses that Dr.

Grossman did not have any text messages” and that, ‘[f]rom the best that we understand, these

messages did not load on his old iPhone when there was a prior review of the responsive text




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messages.’1 … Promptly upon discovering that Dr. Grossman had text messages with Dr. Francois

– of which we were previously unaware – we went back to Dr. Francois and discovered that he

had additional, responsive text messages. We produced the same text exchanges that Dr. Grossman

had, along with 7 new screenshots of text messages that Dr. Francois had with Dr. Robert Femia

and Dr. Catherine Jamin.” (Dkt. No. 100 at p.1-2.)

       Carmody’s bald accusations of “misrepresentations,” (Pl. Mem. at 1, 2), are wholly

unfounded. As the exhibits to her motion demonstrate, Defendants’ production of screenshots of

text messages made clear to her attorneys that NYU did not retain an outside vendor to image cell

phones. (Pl. Ex. B & C.) In addition, as we stated in the November 2022 Letter:

       no lawyer wants to learn that his or her clients have relevant discovery that was not
       previously located or produced. But, our prior representations about text messages
       were not ‘misrepresentations,’ as Attorney Cavaleri erroneously states. They were
       representations based on a good-faith understanding of what existed at the time. I
       take great exception to these accusations and can proudly state that, in my 31+ years
       of practice, this is the first time that any opposing counsel has made accusations of
       ‘misrepresentations’ by me and the first time that I have been in a position of
       producing responsive documents after the close of discovery. I take my clients’
       discovery obligations seriously and my firm has worked hard in this case to gather
       and produce all responsive documents (over 12,600 pages), and we did not and
       would not ignore our obligations as officers of this Court.

(Dkt. No. 100 at p.2.) Simply put, Defendants and their counsel did not make any

misrepresentations to Carmody’s counsel or this Court about discovery as to text messages (or

otherwise), and her attorneys’ continued accusation is specious.

       On November 23, 2022, the Court ordered Defendants to retain a vendor to image cell

phones. (Dkt. No. 102.) Thereafter, Defendants ran all of Carmody’s proposed search terms, and

Defendants offered to (and did) image the cell phones of the five Individual Defendants, Jamin,



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        Grossman’s texts were discovered after he received his new iPhone 14, which Apple did
not release until September 16, 2022.

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Caspers and Nancy Sanchez. Defendants note that, even though the emails from Carmody’s

attorney during discovery concerning texts did not request Sanchez’s text messages or messages

with her, (see Pl. Ex. B at p.1 – Attorney Tsang’s June 29, 2022 email), none of Carmody’s

discovery applications to the Court about text messages mentioned Sanchez, (see Dkt. Nos. 58, 73

& 97), and Carmody’s first application to the Court stated that “the parties identified the individual

Defendants and Drs. Catherine Jamin and Dr. Christopher Caspers as custodians” only, (Dkt. No.

58), Defendants decided to image Sanchez’s phone because the November 3 production showed

that Grossman and Sanchez communicated by text. Carmody’s first mention of Sanchez was her

December 22, 2022 application to take Sanchez’s deposition, (see Dkt. No. 130), which she filed

after she received Defendants’ December 16, 2022 production of text messages retrieved through

forensic imaging.

       Defendants also note that there has been no prejudice to Carmody with respect to the

production of text messages after discovery, as her attorneys admit she does not need the text

messages or re-opened depositions to oppose summary judgment. (Dkt. No. 139 at p. 2.) That is

because all of the texts produced after the close of discovery are consistent with the facts set forth

in Defendants’ summary judgment papers (see Dkt. No. 100 at p.2), and Carmody has not even

attempted to show that any of these text messages support her allegations or claims in this case.

                                       III.    ARGUMENT

A.     RULE 37(b)(2)(C) IS NOT APPLICABLE

       In her motion, Carmody seeks attorneys’ fees under Fed. R. Civ. P. 37(b)(2)(C). Rule 37(b),

however, is not applicable here because Defendants never violated any Court Order with respect

to discovery, and Carmody does not allege any such violation. It is well-settled that “Rule 37(b)

sanctions require the violation of an explicit court order” compelling discovery. Salahuddin v.



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Harris, 782 F.2d 1127, 1133 (2d Cir. 1986); Daval Steel Products v. M/V Fakredine, 951 F.2d

1357, 1363 (2d Cir. 1991) (a clearly articulated court order requiring specific discovery is a

necessary condition precedent to a Rule 37(b) sanction). Therefore, the Court should deny

Carmody’s motion for fees under Rule 37(b).

B.     THE COURT SHOULD NOT AWARD FEES BECAUSE DEFENDANTS’
       COLLECTION AND PRODUCTION OF TEXTS DURING DISCOVERY
       WAS “SUBSTANTIALLY JUSTIFIED,” CARMODY NEVER REQUESTED
       IMAGING DURING DISCOVERY BEFORE SEEKING RELIEF, AND
       FEES ARE UNJUST UNDER THE CIRCUMSTANCES OF THIS CASE

       The Court should deny Carmody’s motion for attorneys’ fees under Fed. R. Civ. P. 37(a)(5)

because the Defendants’ manual collection and review of text messages during discovery was

“substantially justified” under existing law, Carmody did not request or seek agreement on

imaging of cell phones for texts during discovery or before seeking the Court’s intervention

(despite her knowledge of the manual process utilized since at least July 6), and an award of fees

is “unjust” under the circumstances of this case.

       Rule 37(a)(5)(A) provides that, if a motion to compel discovery is granted, “the court must

... require the party or deponent whose conduct necessitated the motion … to pay the movant’s

reasonable expenses incurred in making the motion, including attorney’s fees,” unless the movant

failed to obtain the requested disclosure (here, imaging of cell phones) before seeking court

intervention, the nondisclosure (here, the process of manually searching for responsive texts) was

“substantially justified,” or “other circumstances make an award of expenses unjust.” Fed. R. Civ.

P. 37(a)(5)(A)(i)-(iii); Klein v. Torrey Point Grp., LLC, 979 F. Supp. 2d 417, 442 (S.D.N.Y. 2013)

(denying fees under Rule 37 even though court granted motion to compel because defendant’s

relevance argument “was not without substance”). “Substantial justification for refusing discovery

is determined according to ‘an objective standard of reasonableness and does not require that the



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party have acted in good faith.’” Klein, 979 F. Supp. 2d at 442. “Conduct is substantially justified

if there was a genuine dispute or if reasonable people could differ as to the appropriateness of the

contested action,” Underdog Trucking, L.L.C. v. Verizon Servs. Corp., 273 F.R.D. 372, 377

(S.D.N.Y. 2011) (internal quotation marks omitted), or “unless such a position ‘involves an

unreasonable, frivolous, or completely unsupportable reading of the law,” Klein, 979 F. Supp. 2d

at 442 (S.D.N.Y. 2013) (citation omitted).

       In manually reviewing text messages and producing responsive texts, Defendants relied

upon NYU Langone’s and defense counsel’s long-standing practice and good-faith understanding

that nothing under the Federal Rules of Civil Procedure requires the forensic imaging of cell

phones during discovery. The law is clear that there is no obligation to have a party or non-party’s

cell phone forensically imaged in the absence of “extraordinary circumstances,” which Carmody

never raised during discovery here. E.g., Johns v. Chemtech Servs., 2021 U.S. Dist. LEXIS

191976, at *3 (N.D. Ill. 2021) (denying motion to compel imaging of cell phones and stating that

caselaw shows that “forensic ESI exam constitutes an extraordinary remedy,” citing cases, Rule

37 Advisory Committee commentary and Sedona Principles); Hardy v. UPS Ground Freight, Inc.,

2019 U.S. Dist. LEXIS 121277, at *11, 16 (D. Mass. 2019) (denying motion to compel forensic

imaging of plaintiff’s cell phone, relying on proportionality, relevance and privacy of personal cell

phone data; “Courts have required that a movant make at least some effort, for example, by way

of expert testimony or an affidavit, to show that this intrusive means of discovery is likely to yield

the results sought.”); Fuhs v. McLachlan Drilling Co., 2018 U.S. Dist. LEXIS 184264, at *58

(W.D. Pa. 2018) (“forensic imaging of custodians’ cell phones is not a requirement under the

law”); Bakhit v. Safety Marking, Inc., 2014 U.S. Dist. LEXIS 86761, at *6-10 (D. Conn. 2014)

(denying plaintiff’s motion for forensic imaging and inspecting cell phones as overly broad and



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too intrusive of individual defendants’ personal phones); Rule 34 Advisory Committee Notes -

2006 Amendment (“The addition of testing and sampling to Rule 34(a) with regard to documents

and electronically stored information is not meant to create a routine right of direct access to a

party's electronic information system, although such access might be justified in some

circumstances. Courts should guard against undue intrusiveness resulting from inspecting or

testing such systems.”); The Sedona Principles, Third Edition: Best Practices, Recommendations

& Principles for Addressing Electronic Document Production, 19 Sedona Conf. J. 1, Comments

5.g. and 8.c. (2018) (“Civil litigation should not be approached as if information systems were

crime scenes that justify forensic investigation at every opportunity to identify and preserve every

detail.... [M]aking forensic image backups of computers is only the first step of an expensive,

complex, and difficult process of data analysis that can divert litigation into side issues and satellite

disputes involving the interpretation of potentially ambiguous forensic evidence.”).

        As set forth above, see supra at pages 2-5, Defendants made it clear to Carmody during

discovery that they were manually searching for responsive text messages, and there was never

any discussion between counsel or an agreement to forensically image any cell phones. Carmody

first made that request to the Court on November 4, 2022, (Dkt. No. 97) – some 5½ months after

knowing that Defendants manually searched for texts. While the Defendants conducted their

search for texts in good faith, they obviously missed producing some messages from some of the

Individual Defendants, which were only produced on December 16, 2022, as a result of the forensic

imaging ordered by the Court. Even then, the bulk of the new text messages (52 messages) were

from or with Sanchez, who was not mentioned in opposing counsel’s correspondence about text




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messages, as shown in Plaintiff Exhibit B, or in Carmody’s applications to the Court about text

messages, (see Dkt. Nos. 58, 73 & 97.)

       Defendants’ process for searching and collecting text messages was substantially justified

under the Federal Rules and case law, and Carmody’s attorneys never discussed imaging with

Defendants’ counsel during discovery, or even before they filed an application with the Court. Nor

did Defendants obfuscate or obstruct text message discovery in any way. In addition, awarding

fees under these circumstances would be unjust. Consequently, there is no factual or legal basis

for awarding fees to Carmody under Rule 37(a)(5)(A)(i)-(iii).

                                    IV.     CONCLUSION

       For all of these reasons, the Court should grant deny Carmody’s motion for attorneys’ fees

under Rule 37.

Dated: February 10, 2023
                                                    Respectfully submitted,
                                                    CERASIA LAW LLC
                                                    By /s Edward Cerasia II
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